          Case 4:20-cv-05640-YGR Document 605 Filed 05/07/21 Page 1 of 4




 1 KATIE TOWNSEND (SBN 254321)

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 7 Counsel for Reporters Committee for
 8 Freedom of the Press and 18 Media
     Organizations
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10
11                         UNITED STATES DISTRICT COURT
12                      NORTHERN DISTRICT OF CALIFORNIA
13
14 EPIC GAMES, INC.,                           Case No. 4:20-cv-05640

15             Plaintiff/Counter-Defendant,    PRESS POOL SCHEDULE FOR
16                                             WEEK OF MAY 10, 2021
     v.
17                                             Judge: Hon. Yvonne Gonzalez Rogers
18 APPLE INC.,
19             Defendant/Counter-Claimant.
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                  PRESS POOL SCHEDULE FOR WEEK OF MAY 10, 2021 (20-CV-05640)
        Case 4:20-cv-05640-YGR Document 605 Filed 05/07/21 Page 2 of 4




 1        In accordance with the Court’s Pre-Trial Order No. 5, ECF No. 485, the
 2 Reporters Committee for Freedom of the Press, The Associated Press, The Atlantic
 3 Monthly Group LLC, Bloomberg L.P., The Center for Investigative Reporting (d/b/a
 4 Reveal), Dow Jones & Company, Inc., The E.W. Scripps Company, Gannett Co.,
 5 Inc., The Information, KPIX-TV, MLex, National Journal Group LLC, National Press
 6 Club Journalism Institute, The National Press Club, The New York Times Company,
 7 POLITICO LLC, The Seattle Times Company, TEGNA Inc., and Vox Media, LLC,
 8 (collectively the “Media Coalition”), hereby submits the press pool schedule for trial
 9 coverage in the above-captioned matter for the week of May 10, 2021.
10
11             Trial Day                      Designated Pool Reporters
12
       Monday, May 10, 2021         1. Amy Miller, MLex
13
                                    2. Dorothy Atkins, Law360
14
       Tuesday, May 11, 2021        1. Dorothy Atkins, Law360
15
                                    2. Bobby Allyn, NPR
16
       Wednesday, May 12, 2021 1. Sebastian Herrera, The Wall Street Journal
17
18
                                    2. Kellen Browning, The New York Times
       Thursday, May 13, 2021       1. Elizabeth Lopatto, Verge
19
20                                  2. Dorothy Atkins, Law360

21     Friday, May 14, 2021         1. Paresh Dave, Reuters
22                                  2. Michael Acton, MLex
23
24 Dated: May 7, 2021
                                                    /s/ Katie Townsend
25
                                                    Katie Townsend
26                                                  REPORTERS COMMITTEE
                                                      FOR FREEDOM OF THE PRESS
27
                                                    1156 15th St. NW, Ste. 1020
28                                                  Washington, D.C. 20005
                                             2
                  PRESS POOL SCHEDULE FOR WEEK OF MAY 10, 2021 (20-CV-05640)
     Case 4:20-cv-05640-YGR Document 605 Filed 05/07/21 Page 3 of 4




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 5                                             Organizations
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             PRESS POOL SCHEDULE FOR WEEK OF MAY 10, 2021 (20-CV-05640)
        Case 4:20-cv-05640-YGR Document 605 Filed 05/07/21 Page 4 of 4




 1                            CERTIFICATE OF SERVICE
 2
          I hereby certify that on May 7, 2021, I electronically served the foregoing
 3
 4 document via ECF upon all counsel of record and via email to the Court’s Media
 5 Liaison, Nicholas Jackson.

 6
     Dated: May 7, 2021                             /s/ Katie Townsend
 7                                                  Katie Townsend
 8                                                  REPORTERS COMMITTEE
                                                      FOR FREEDOM OF THE PRESS
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14                                                  Press and 18 Media
                                                    Organizations
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                  PRESS POOL SCHEDULE FOR WEEK OF MAY 10, 2021 (20-CV-05640)
